




 









 
  
  
   
    
    
    
    
    
   
  
  
  
  COURT OF APPEALS
  SECOND DISTRICT OF TEXAS
  FORT WORTH
  &nbsp;
  
 


&nbsp;

&nbsp;

NO. 02-12-00342-CV 

&nbsp;

&nbsp;


 
  
  Frank M. Kudlac, Jr.
  
  
  &nbsp;
  
  
  APPELLANT
  
 
 
  
  &nbsp;
  V.
  &nbsp;
  
 
 
  
  TSM Restorations, Inc. d/b/a Service Master By
  Bridges
  
  
  &nbsp;
  
  
  APPELLEE 
  
 


&nbsp;

&nbsp;

------------

&nbsp;

FROM THE 431st
District Court OF Denton COUNTY

------------

MEMORANDUM
OPINION[1] AND
JUDGMENT

------------

&nbsp;

On August
29, 2012, and September 18, 2012, we notified appellant, in accordance with
rule of appellate procedure 42.3(c), that we would dismiss this appeal unless
the $175 filing fee was paid.&nbsp; See Tex. R. App. P. 42.3(c).&nbsp; Appellant has not
paid the $175 filing fee.&nbsp; See Tex. R. App. P. 5, 12.1(b).

Because
appellant has failed to comply with a
requirement of the rules of appellate procedure and the Texas Supreme Court’s
order of August 28, 2007,[2]
we dismiss the appeal.&nbsp; See Tex. R. App. P. 42.3(c), 43.2(f).

Appellant
shall pay all costs of this appeal, for which let execution issue.&nbsp; See
Tex. R. App. P. 43.4.

&nbsp;

PER
CURIAM

PANEL:&nbsp;
GABRIEL, J.; LIVINGSTON, C.J.; and DAUPHINOT, J.&nbsp; 

&nbsp;

DELIVERED:&nbsp;
October 11, 2012 









[1]See Tex. R. App. P. 47.4.





[2]See Supreme Court of
Tex., Order Regarding Fees Charged in Civil Cases in the Supreme Court and
the Courts of Appeals and Before the Judicial Panel on Multidistrict Litigation,
Misc. Docket No. 07-9138 (Aug. 28, 2007) (listing fees in courts of appeals).







